                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:05CV246-1-MU
                                  3:02CR242-MU


JOHN LLOYD WILLIAMSON,              )
                                    )
            Petitioner,             )
                                    )
            v.                      )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence, filed May 27, 2005.

       For the reasons set forth below, the Court dismisses Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence.

                                  PROCEDURAL HISTORY

       On November 4, 2002, Petitioner was named, along with thirteen other defendants, in a

nine-count bill of indictment that charged him with one count of conspiracy to possess with

intent to distribute cocaine, methamphetamine, and marijuana in violation of 21 U.S.C. §§ 846

and 841.1 On December 11, 2003, the parties filed a plea agreement with the Court. On January

16, 2004, pursuant to his written plea agreement, Petitioner entered a guilty plea at his Rule 11

Hearing. On May 19, 2004, this Court sentenced Petitioner to120 months imprisonment.

Petitioner did not appeal his sentence or conviction.

       1
        On March 24, 2003, a Superceding Indictment was filed which added additional
defendants to Count One and additional counts against other individuals.


       Case 3:02-cr-00242-FDW          Document 296         Filed 06/09/05      Page 1 of 7
       On May 27, 2005, Petitioner filed the instant Motion to Vacate alleging that he had

received ineffective assistance of counsel.

                                       LEGAL ANALYSIS

I. INEFFECTIVE ASSISTANCE OF COUNSEL

       Petitioner’s contention that he received ineffective assistance of counsel is governed by

the holding in Strickland v. Washington, 466 U.S. 668, 687-91 (1984). In Strickland, the

Supreme Court held that in order to succeed on an ineffective assistance of counsel claim, a

petitioner must establish that counsel’s performance was constitutionally defective to the extent it

fell below an objective standard of reasonableness, and that he was prejudiced thereby, that is,

there is a reasonable probability that but for the error, the outcome would have been different. In

making this determination, there is a strong presumption that counsel’s conduct was within the

wide range of reasonable professional assistance. Id. at 689; Fields v. Attorney General of Md.,

956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865 (1995). Petitioner bears the burden

of proving Strickland prejudice. Fields, 956 F.2d at 1297. If the petitioner fails to meet this

burden, a “reviewing court need not consider the performance prong.” Id. at 1290.

       Moreover, a defendant who alleges ineffective assistance of counsel following the entry

of a guilty plea has an even higher burden to meet. Hill v. Lockhart, 474 U.S. 52, 53-59 (1985).

When a Petitioner challenges a conviction entered after a guilty plea, in order to establish the

requisite prejudice, such a petitioner must show that “there is a reasonable probability that but for

counsel’s errors he would not have pleaded guilty and would have insisted on going to trial.”

Hooper v. Garraghty, 845 F.2d 471, 475 (4th Cir. ), cert. denied, 488 U.S. 843 (1988).




                                                 2


       Case 3:02-cr-00242-FDW           Document 296        Filed 06/09/05      Page 2 of 7
       A. Involuntary Guilty Plea

       Petitioner alleges that his guilty plea was involuntary because he received ineffective

assistance of counsel because his counsel misled him by informing him that if he signed the plea

agreement he would receive a sentence of three years imprisonment.

       At a minimum, Petitioner cannot satisfy the prejudice prong of his claim. As

demonstrated below, even if his counsel erroneously informed Petitioner as to the sentence he

would receive, Petitioner cannot, in light of the terms of his plea agreement and his answers

under oath at his plea and sentencing hearings, establish that he was prejudiced.

       Petitioner’s argument that he was misled into pleading guilty is belied by the record in

this case. At his plea hearing2 Petitioner swore under oath that he wanted to plead guilty. (Entry

and Acceptance of Guilty Plea Form and Log of Proceedings Electronically Recorded).3 He

further swore that he understood that he was entering a guilty plea that could not later be

withdrawn. Id. Petitioner also swore that he understood that he was pleading guilty to

conspiracy to possess with intent to distribute at least 2 kilograms but less than 3.5 kilograms of

cocaine and more than 1,000 but less than 3,000 kilograms of marijuana. Id. Petitioner also

swore under oath that he understood that as a result of his plea he faced a minimum of ten years



       2
          In reaching a decision on this case the Court, in accordance with the law, has placed
great weight on the Petitioner’s representations at his Rule 11 Hearing. See Blackledge v.
Allison, 431 U.S. 63, 73-74 (1977)(representations made by a defendant at a plea hearing, as well
as any findings made by the judge, constitute a formidable barrier in any subsequent collateral
proceeding).
       3
          To determine what took place at Petitioner’s Rule 11 hearing the Court relied upon the
Entry and Acceptance of Guilty Plea Form and the Log of Proceedings Electronically Recorded.
That is, to ensure the accuracy of the form and to supplement the form, the Court listened to the
entire plea hearing.

                                                 3


       Case 3:02-cr-00242-FDW           Document 296        Filed 06/09/05      Page 3 of 7
and a maximum of life imprisonment. Id. Petitioner also swore under oath that his counsel had

explained how the United States Sentencing Guidelines might apply to his case and that he

understood that the Court would not be able to determine his sentencing range until after his pre-

sentence report was written. Id. He also swore that he understood that if the sentence he

received was harsher than he expected he would still be bound by his plea agreement. Id.

Petitioner swore that he was in fact guilty of the charge to which he pled guilty. Id. Petitioner

swore that no one had threatened, intimidated, or forced him into entering his plea agreement or

his guilty plea. Id. Petitioner also swore that no one had made him any promises outside of the

terms set forth in his plea agreement. Id. Finally, Petitioner indicated that he was satisfied with

his attorney’s services. Id. The magistrate judge then asked Petitioner if he had heard and

understood all of the plea hearing proceedings and whether he still wished to plead guilty.

Petitioner responded in the affirmative. Id.. At the conclusion of his plea hearing, the magistrate

judge asked Petitioner whether he had any questions or statements that he would like to make –

Petitioner responded “no.” Id..

       Further buttressing the conclusion that Petitioner knowingly entered his plea are the

explicit written terms of Petitioner’s plea agreement. That is, Petitioner’s plea agreement sets

forth that he was subject to a statutory minimum sentence of ten years and a statutory maximum

sentence of life imprisonment. (Plea Agr. ¶ 4). In addition, Plaintiff’s plea agreement sets forth

that “defendant is further aware that the Court has not yet determined the sentence, that any

estimate from any source, including defense counsel, of the likely sentence is a prediction rather

than a promise, and that the Court has the final discretion to impose any sentence up to the

statutory maximum for each count.” (Plea Agr. ¶ 6)(emphasis added). At his Plea Hearing,


                                                 4


       Case 3:02-cr-00242-FDW          Document 296         Filed 06/09/05      Page 4 of 7
Petitioner swore under oath that he had signed his plea agreement. (Entry and Acceptance of

Guilty Plea Form).

       At his sentencing hearing, the Court concluded that Petitioner had entered his plea

knowingly and voluntarily, with an understanding of the charges, potential penalties, and

consequences of his plea. (Sent. Hearing Trans. p. 4). Petitioner also indicated that he had

reviewed the presentence report with his counsel. (Sent. Hearing Trans. pp. 4-5).

       Based upon the representations of Petitioner at his Rule 11 Hearing and his Sentencing

Hearing, and the record in this case, the Court concludes that, regardless of what his counsel may

have told him about what kind of sentence he would receive, Petitioner understood the terms of

his plea such that his plea was entered knowingly and voluntarily. Consequently, he cannot

establish the requisite prejudice and his ineffective assistance of counsel claim based upon his

involuntary guilty plea assertion is denied.

       B. Conflict of Interest

       Petitioner alleges that his counsel operated under a conflict of interest which resulted in

Petitioner receiving ineffective assistance of counsel. In support of his argument Petitioner states

that his attorney represented both Petitioner and one of Petitioner’s co-defendants and that his co-

defendant received a lesser sentence even though he pled guilty to the same Count.

       Petitioner’s argument is unsupported and conclusory. Petitioner points to no specific

facts to support a conclusion that a conflict of interest existed. The mere fact that his counsel

represented a co-defendant and that co-defendant received a lesser sentence does not establish

that his counsel operated under a conflict of interest or that he was ineffective in any way.




                                                 5


       Case 3:02-cr-00242-FDW           Document 296        Filed 06/09/05       Page 5 of 7
       C. Information

       Finally, Petitioner alleges that his counsel advised him to speak with federal agents and

that he erroneously informed Petitioner that the information Petitioner told to the agents could

not be used against him. Petitioner contends that the information he disclosed was used to

increase his sentence.

       Again, Petitioner’s claim lacks specifics. That is, he points to no specific information

that he disclosed that was used to enhance his sentence. Moreover, the Court notes that

Petitioner received the mandatory statutory minimum for the charge to which he pled guilty. It is

thus difficult for the Court to understand how Petitioner could, at a minimum, be prejudiced by

the alleged course of events.

       THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence is DISMISSED.




                                                 6


      Case 3:02-cr-00242-FDW           Document 296        Filed 06/09/05      Page 6 of 7
                         Signed: June 9, 2005




                                  7


Case 3:02-cr-00242-FDW    Document 296     Filed 06/09/05   Page 7 of 7
